                                  Case 18-23071-EPK                  Doc 1        Filed 10/22/18           Page 1 of 15

Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Alliance BioEnergy Plus, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  400 N. Congress Ave., Suite 130
                                  West Palm Beach, FL 33401
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Palm Beach                                                      Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.alliancebioe.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                       Case 18-23071-EPK                 Doc 1         Filed 10/22/18              Page 2 of 15
Debtor    Alliance BioEnergy Plus, Inc.                                                                 Case number (if known)
          Name



7.   Describe debtor's business         A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                           None of the above

                                        B. Check all that apply
                                           Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9

                                           Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12



9.   Were prior bankruptcy                 No.
     cases filed by or against
     the debtor within the last 8          Yes.
     years?
     If more than 2 cases, attach a
     separate list.                                District                                When                                  Case number
                                                   District                                When                                  Case number


10. Are any bankruptcy cases               No
    pending or being filed by a
    business partner or an                 Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                        Debtor                                                                    Relationship
                                                   District                                When                              Case number, if known




Official Form 201                                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                                Case 18-23071-EPK                      Doc 1        Filed 10/22/18              Page 3 of 15
Debtor   Alliance BioEnergy Plus, Inc.                                                             Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                  Case 18-23071-EPK                   Doc 1        Filed 10/22/18             Page 4 of 15
Debtor    Alliance BioEnergy Plus, Inc.                                                            Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 22, 2018
                                                  MM / DD / YYYY


                             X   /s/ Benjamin Slager                                                      Benjamin Slager
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CEO




18. Signature of attorney    X   /s/ Nathan G. Mancuso                                                     Date October 22, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Nathan G. Mancuso 174254
                                 Printed name

                                 Mancuso Law, P.A.
                                 Firm name

                                 7777 Glades Rd., Suite 100
                                 Boca Raton, FL 33434
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     561-245-4705                  Email address      ngm@mancuso-law.com

                                 174254 FL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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                                     Case 18-23071-EPK                        Doc 1        Filed 10/22/18            Page 6 of 15




 Fill in this information to identify the case:

 Debtor name         Alliance BioEnergy Plus, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          October 22, 2018                        X /s/ Benjamin Slager
                                                                       Signature of individual signing on behalf of debtor

                                                                       Benjamin Slager
                                                                       Printed name

                                                                       CEO
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                          Case 18-23071-EPK                     Doc 1        Filed 10/22/18                Page 7 of 15


 Fill in this information to identify the case:
 Debtor name Alliance BioEnergy Plus, Inc.
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF                                                                                         Check if this is an
                                                FLORIDA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 AES Financial                                                  financial                                                                                                 $64,503.89
 Advisors, LLC                                                  consulting
 9334 Amber Wood                                                services
 Dr.
 Kirtland, OH 44094
 Animated Family                                                note payable            Contingent                                                                      $648,322.38
 Films                                                                                  Disputed
 4975 Dixie Hwy.,
 Suite 503
 Palm Bay, FL 32905
 Benjamin Slager                                                unpaid                                                                                                  $307,859.25
 122 Via D'Este, Apt.                                           compensation
 509
 Delray Beach, FL
 33445
 Charles Sills                                                  unpaid                                                                                                    $55,000.00
 1015 33rd. St., NW,                                            compensation
 Apt. 807
 Washington, DC
 20007
 Christopher                                                    note payable                                                                                              $50,315.07
 Jemapete
 6888 S. Irvington Ct.
 Aurora, CO 80016
 CTWC                                                           note payable            Contingent                                                                      $346,384.72
 226 North Nova Rd.,                                                                    Disputed
 Suite 151
 Ormond Beach, FL
 32174
 Daniel de Liege                                                note payable            Contingent                                                                      $540,546.22
 11648 Persimmon                                                                        Disputed
 Blvd.
 West Palm Beach,
 FL 33411




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Alliance BioEnergy Plus, Inc.                                                                      Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Daniel de Liege                                                unpaid                  Disputed                                                                          $80,000.00
 11648 Persimmon                                                compensation
 Blvd.
 Royal Palm Beach,
 FL 33411
 Dennis Lenaburg                                                pending litigation      Contingent                                                                    $2,694,577.00
 c/o Joe M. Grant,                                              claim                   Unliquidated
 Esq.                                                                                   Disputed
 Marshall Socarras                                                                      Subject to
 Grant, P.L.                                                                            Setoff
 197 S. Federal Hwy.,
 Suite 200
 Boca Raton, FL
 33432
 H&K Investments                                                note payable            Contingent                                                                      $108,031.42
 3412 Collonade Dr.                                                                     Disputed
 Wellington, FL
 33449
 JMJ Financial                                                  note payable            Disputed                                                                        $152,850.73
 1504 Bay Rd.                                                                           Subject to
 Miami Beach, FL                                                                        Setoff
 33139
 Lucas Hoppel                                                   note payable            Disputed                                                                        $452,939.20
 c/o Gehres Law                                                                         Subject to
 Group, P.C.                                                                            Setoff
 4275 Executive
 Square, Suite 200
 La Jolla, CA 92037
 Mark Koch                                                      note payable            Contingent                                                                      $269,591.88
 3412 Collonade Dr.                                                                     Disputed
 Wellington, FL
 33449
 Palm Beach Energy                                              note payable            Disputed                                                                          $88,906.50
 Solutions
 11648 Persimmon
 Blvd.
 Royal Palm Beach,
 FL 33411
 Pamela Jemapete                                                note payable                                                                                              $50,315.07
 6888 S. Irvington Ct.
 Aurora, CO 80016
 Power-Up Lending                                               note payable            Disputed                                                                        $286,500.00
 Group, Ltd.                                                                            Subject to
 c/o Richard S.                                                                         Setoff
 Naidich. Esq.
 Naidich Wurman,
 LLP
 111 Great Neck Rd.,
 Suite 214
 Great Neck, NY
 11021



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Alliance BioEnergy Plus, Inc.                                                                      Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Process                                                        2015 engineering        Unliquidated                                                                    $116,818.26
 Engineering                                                    study; TN               Disputed
 Associates, LLC                                                judgment
 700 S. Illinois Ave.,
 Suite A-202
 Oak Ridge, TN
 37830
 Steven Dunkle                                                  note payable            Contingent                                                                      $379,569.80
 226 North Nova Rd.,                                                                    Disputed
 Suite 151
 Ormond Beach, FL
 32174
 Steven Sadaka                                                  note payable                                                                                            $100,000.00
 1301 International
 Pkwy., Suite 510
 Sunrise, FL 33323
 Wellington Asset                                               note payable            Contingent                                                                        $53,291.07
 Holdings                                                                               Disputed
 226 North Nova Rd.,
 Suite 151
 Ormond Beach, FL
 32174




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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            Accelerated Technologies
            801 Maplewood Dr., suite 16
            Jupiter, FL 33458


            AES Financial Advisors, LLC
            9334 Amber Wood Dr.
            Kirtland, OH 44094


            Andrew R. Herron, Esq.
            Herron Ortiz
            255 Alhambra Cir., Suite 1060
            Coral Gables, FL 33134


            Animated Family Films
            4975 Dixie Hwy., Suite 503
            Palm Bay, FL 32905


            Anthony Santelli
            9334 Amber Wood Dr.
            Kirtland, OH 44094


            Automatic Data Processing
            c/o ADP Small Business Services
            5800 Windward Pkwy., MS B301
            Alpharetta, GA 30005


            B2I Technologies
            2000 N. Central Expwy., Suite 220
            Plano, TX 75074


            Benjamin Slager
            122 Via D'Este, Apt. 509
            Delray Beach, FL 33445


            Bindler Investment Group, LLC
            429 Dundee Rd.
            Glencoe, IL 60022


            Broadridge Financial Solutions, Inc.
            1155 Long Island Ave.
            Edgewood, NY 11717


            Calidus Management, LLC
            400 N. Congress Ave., Suite 100
            West Palm Beach, FL 33401
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        Capital Premium Financing
        PO Box 660899
        Dallas, TX 75266


        Capitola Design
        4420 Esta Lane
        Soquel, CA 95073


        Charles Sills
        1015 33rd. St., NW, Apt. 807
        Washington, DC 20007


        Christopher Jemapete
        6888 S. Irvington Ct.
        Aurora, CO 80016


        Clark Legal Services
        10 Huron Ave., Suite 1N
        Jersey City, NJ 07306


        Clear Trust, LLC
        16540 Point Village Dr., Suite 205
        Lutz, FL 33558


        CTWC
        226 North Nova Rd., Suite 151
        Ormond Beach, FL 32174


        Daniel de Liege
        11648 Persimmon Blvd.
        West Palm Beach, FL 33411


        Daniel de Liege
        11648 Persimmon Blvd.
        Royal Palm Beach, FL 33411


        Dennis Lenaburg
        c/o Joe M. Grant, Esq.
        Marshall Socarras Grant, P.L.
        197 S. Federal Hwy., Suite 200
        Boca Raton, FL 33432


        Department of the Treasury
        Internal Revenue Service
        Ogden, UT 84201-0038
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        Department of the Treasury
        Internal Revenue Service
        Atlanta, GA 39901-0030


        Flagler Communications Group, Inc.
        3475 S. Ocean Blvd., Suite 205
        Palm Beach, FL 33480


        Fox Rothschild LLP
        2000 Market Street, 20th Floor
        Philadelphia, PA 19103


        George Bolton
        116 Signature Dr.
        Melbourne Beach, FL 32951


        Gerry David
        4654 E. State Rd. 64, Suite 409
        Bradenton, FL 34208


        H&K Investments
        3412 Collonade Dr.
        Wellington, FL 33449


        Holland & Knight
        PO Box 864084
        Orlando, FL 32886


        JMJ Financial
        1504 Bay Rd.
        Miami Beach, FL 33139


        JMJ Financial
        26800 Aliso Viejo Pkwy., Suite 200
        Aliso Viejo, CA 92656


        Joel B. Blumberg, P.A.
        200 Butler St., Suite 307
        West Palm Beach, FL 33407


        JPMorgan Chase Bank, N.A.
        c/o CT Corporation System, R.A.
        1200 South Pine Island Rd.
        Fort Lauderdale, FL 33324
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        Julie A. Smith
        2782 Millstone Rd.
        Tallahassee, FL 32312


        Law Offices of Robert Diener
        41 Ulua Pl.
        Haiku, HI 96708


        Lucas Hoppel
        c/o Gehres Law Group, P.C.
        4275 Executive Square, Suite 200
        La Jolla, CA 92037


        Luna Consultants
        5333 S. Arville St., Suite 207
        Las Vegas, NV 89118


        Mark Koch
        3412 Collonade Dr.
        Wellington, FL 33449


        NASDAQ Corporate Solutions
        LBX # 11700
        PO Box 780700
        Philadelphia, PA 19178


        Nicholas A. Correa
        2936 Hidden Hills Rd., Apt. 1502
        West Palm Beach, FL 33411


        Owings, Wilson & Coleman
        900 S. Gay St., Suite 800
        Knoxville, TN 37902


        Palm Beach Energy Solutions
        11648 Persimmon Blvd.
        Royal Palm Beach, FL 33411


        Pamela Jemapete
        6888 S. Irvington Ct.
        Aurora, CO 80016


        Paritz & Co.
        15 Warren St.
        Hackensack, NJ 07601
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        Patrick Simms
        14542 Parracombe Lane
        Midlothian, VA 23112


        Peter J. Cohen
        6466 Emerald Dunes Dr., Apt. 107
        West Palm Beach, FL 33411


        Pickwick Capital Partners
        445 Hamilton St., Suite 1102
        White Plains, NY 10601


        Porter, Levay & Rose
        7 Penn Plaza, Suite 810
        New York, NY 10001


        Power-Up Lending Group, Ltd.
        c/o Richard S. Naidich. Esq.
        Naidich Wurman, LLP
        111 Great Neck Rd., Suite 214
        Great Neck, NY 11021


        Process Engineering Associates, LLC
        700 S. Illinois Ave., Suite A-202
        Oak Ridge, TN 37830


        Shred-It USA, LLC
        PO Box 13574
        New York, NY 10087-3574


        Steven Douglas
        1301 International Pkwy., Suite 510
        Fort Lauderdale, FL 33323


        Steven Dunkle
        226 North Nova Rd., Suite 151
        Ormond Beach, FL 32174


        Steven Sadaka
        1301 International Pkwy., Suite 510
        Sunrise, FL 33323


        U.S. Bank Equipment Finance
        PO Box 790448
        Saint Louis, MO 63179-0448
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        U.S. Securities & Exchange Commission
        Atlanta Regional Office
        950 E. Paces Ferry Rd., N.E., Suite 900
        Atlanta, GA 30326


        U.S. Securities & Exchange Commission
        801 Brickell Avenue, Suite 1800
        Miami, FL 33131


        VGB Consulting, Inc.
        8871 Boatswain Dr.
        Boynton Beach, FL 33411


        Weiss Law Group
        Attn.: Jason S. Weiss, Esq.
        5331 N. University Dr., Suite 103
        Coral Springs, FL 33067


        Wellington Asset Holdings
        226 North Nova Rd., Suite 151
        Ormond Beach, FL 32174
